
OPINION.
James:
It appears from the testimony and we have found as a fact that the taxpayer in this case was engaged in general farming operations and realized a profit on account of the sale of some of such lands. This is clearly sufficient to bring him within the pro*103visions of 'section 201 of the Revenue Act of 1917, which provides that the excess profits tax shall be applied “ to all trades or businesses of whatever description, whether continuously carried on or not.”
The taxpayer has further requested in his petition that special relief be granted him under the provisions of section 210 of the Revenue Act of 1917. The Commissioner has pleaded in bar of such relief from this Board that the Commissioner alone has authority to grant such an application. Without determining that question in this appeal, it is sufficient to state that the taxpayer has introduced no evidence in support of that portion of his appeal and has therefore failed to sustain the burden of proof resting upon him in connection therewith.
